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 9   UNITED STATES OF AMERICA

10                           UNITED STATES DISTRICT COURT

11                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA,                No. CR 15-629-JAK

13             Plaintiff,                     PLEA AGREEMENT FOR DEFENDANT
                                              SERGIO AMADOR
14                    v.

15   SERGIO AMADOR,

16             Defendant.

17

18        1.    This constitutes the plea agreement between Sergio Amador
19   (“defendant”) and the United States Attorney’s Office for the Central
20   District of California (the “USAO”) in the above-captioned case.
21   This agreement is limited to the USAO and cannot bind any other
22   federal, state, local, or foreign prosecuting, enforcement,
23   administrative, or regulatory authorities.
24                              DEFENDANT’S OBLIGATIONS
25        2.    Defendant agrees to:
26              a.    At the earliest opportunity requested by the USAO and
27   provided by the Court, appear and plead guilty to count six of the
28   indictment in United States v. SERGIO AMADOR, et al., CR No. 15-629-
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 1   JAK, which charges defendant with mail fraud in violation of 18

 2   U.S.C. § 1341.

 3              b.    Not contest facts agreed to in this agreement.

 4              c.    Abide by all agreements regarding sentencing contained

 5   in this agreement.

 6              d.    Appear for all court appearances, surrender as ordered

 7   for service of sentence, obey all conditions of any bond, and obey

 8   any other ongoing court order in this matter.

 9              e.    Not commit any crime; however, offenses that would be

10   excluded for sentencing purposes under United States Sentencing

11   Guidelines (“U.S.S.G.” or “Sentencing Guidelines”) § 4A1.2(c) are not

12   within the scope of this agreement.

13              f.    Be truthful at all times with Pretrial Services, the

14   United States Probation Office, and the Court.

15              g.    Pay the applicable special assessments at or before

16   the time of sentencing unless defendant lacks the ability to pay and

17   prior to sentencing submits a completed financial statement on a form

18   to be provided by the USAO.

19              h.    Not seek the discharge of any restitution obligation,

20   in whole or in part, in any present or future bankruptcy proceeding.

21                              THE USAO’S OBLIGATIONS

22        3.    The USAO agrees to:

23              a.    Not contest facts agreed to in this agreement.

24              b.    Abide by all agreements regarding sentencing contained

25   in this agreement.

26              c.    At the time of sentencing, move to dismiss the

27   remaining counts of the indictment as against defendant.            Defendant

28   agrees, however, that at the time of sentencing the Court may

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 1   consider any dismissed charges in determining the applicable

 2   Sentencing Guidelines range, the propriety and extent of any

 3   departure from that range, and the sentence to be imposed.

 4              d.    At the time of sentencing, provided that defendant

 5   demonstrates an acceptance of responsibility for the offense to which

 6   defendant is pleading guilty up to and including the time of

 7   sentencing, recommend a two-level reduction in the applicable

 8   Sentencing Guidelines offense level, pursuant to U.S.S.G. § 3E1.1,

 9   and recommend and, if necessary, move for an additional one-level

10   reduction if available under that section.

11              e.    Recommend that defendant be sentenced to a term of

12   imprisonment no higher than the low end of the applicable Sentencing

13   Guidelines range, provided that the offense level used by the Court

14   to determine that range is 13 or higher.         For purposes of this

15   agreement, the low end of the Sentencing Guidelines range is that

16   defined by the Sentencing Table in U.S.S.G. Chapter 5, Part A,

17   without regard to reductions in the term of imprisonment that may be

18   permissible through the substitution of community confinement or home

19   detention as a result of the offense level falling within Zone B or

20   Zone C of the Sentencing Table.

21                               NATURE OF THE OFFENSE

22        4.    Defendant understands that for defendant to be guilty of

23   the crime charged in count six of the indictment, that is, mail

24   fraud, in violation of 18 U.S.C. §        1341, the following must be true:

25   (a) defendant knowingly participated in a scheme or plan to defraud,

26   or a scheme or plan for obtaining money or property by means of false

27   or fraudulent pretenses, representations, or promises; (b) the

28   statements made or facts omitted as part of the scheme were material,

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 1   that is, they had a natural tendency to influence, or were capable of

 2   influencing, a person to part with money or property; (c) defendant

 3   acted with the intent to defraud, that is, the intent to deceive or

 4   cheat; and (d) defendant used, or caused to be used, the mails to

 5   carry out or attempt to carry out an essential part of the scheme.

 6   For purposes of the fourth element above, a mailing is caused when

 7   one knows that the mails will be used in the ordinary course of

 8   business or when one can reasonably foresee such use; it does not

 9   matter whether the material mailed was itself false or deceptive so

10   long as the mail was used as a part of the scheme, nor does it matter

11   whether the scheme or plan was successful or that any money or

12   property was obtained.

13                            PENALTIES AND RESTITUTION

14        5.    Defendant understands that the statutory maximum sentence

15   that the Court can impose for a violation of 18 U.S.C. § 1341 (mail

16   fraud) is: 20 years imprisonment; a 3-year period of supervised

17   release; a fine of $250,000 or twice the gross gain or gross loss

18   resulting from the offense, whichever is greatest; and a mandatory

19   special assessment of $100.

20        6.    Defendant understands that defendant will be required to

21   pay full restitution to the victim of the offense to which defendant

22   is pleading guilty.     Defendant agrees that, in return for the USAO’s

23   compliance with its obligations under this agreement, the Court may

24   order restitution to persons other than the victim of the offense to

25   which defendant is pleading guilty and in amounts greater than those

26   alleged in the count to which defendant is pleading guilty.            In

27   particular, defendant agrees that the Court may order restitution to

28   any victim of any of the following for any losses suffered by that

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 1   victim as a result: (a) any relevant conduct, as defined in U.S.S.G.

 2   § 1B1.3, in connection with the offense to which defendant is

 3   pleading guilty; and (b) any counts dismissed pursuant to this

 4   agreement as well as all relevant conduct, as defined in U.S.S.G.

 5   § 1B1.3, in connection with those counts.         The parties currently

 6   believe that the applicable amount of restitution is approximately

 7   $201,000, but recognize and agree that this amount could change based

 8   on facts that come to the attention of the parties prior to

 9   sentencing.

10        7.    Defendant understands that supervised release is a period

11   of time following imprisonment during which defendant will be subject

12   to various restrictions and requirements.         Defendant understands that

13   if defendant violates one or more of the conditions of any supervised

14   release imposed, defendant may be returned to prison for all or part

15   of the term of supervised release authorized by statute for the

16   offense that resulted in the term of supervised release, which could

17   result in defendant serving a total term of imprisonment greater than

18   the statutory maximum stated above.

19        8.    Defendant understands that, by pleading guilty, defendant

20   may be giving up valuable government benefits and valuable civic

21   rights, such as the right to vote, the right to possess a firearm,

22   the right to hold office, and the right to serve on a jury.

23   Defendant understands that once the court accepts defendant’s guilty

24   plea, it will be a federal felony for defendant to possess a firearm

25   or ammunition.    Defendant understands that the conviction in this

26   case may also subject defendant to various other collateral

27   consequences, including but not limited to revocation of probation,

28   parole, or supervised release in another case and suspension or

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 1   revocation of a professional license.        Defendant understands that

 2   unanticipated collateral consequences will not serve as grounds to

 3   withdraw defendant’s guilty plea.

 4           9.    Defendant understands that, if defendant is not a United

 5   States citizen, the felony conviction in this case may subject

 6   defendant to: removal, also known as deportation, which may, under

 7   some circumstances, be mandatory; denial of citizenship; and denial

 8   of admission to the United States in the future.          The court cannot,

 9   and defendant’s attorney also may not be able to, advise defendant

10   fully regarding the immigration consequences of the felony conviction

11   in this case.     Defendant understands that unexpected immigration

12   consequences will not serve as grounds to withdraw defendant’s guilty

13   plea.

14                                   FACTUAL BASIS

15           10.   Defendant admits that defendant is, in fact, guilty of the

16   offense to which defendant is agreeing to plead guilty.           Defendant

17   and the USAO agree to the statement of facts provided in attached

18   Exhibit A and agree that this statement of facts is sufficient to

19   support a plea of guilty to the charge described in this agreement

20   and to establish the Sentencing Guidelines factors set forth in

21   paragraph 12 below but is not meant to be a complete recitation of

22   all facts relevant to the underlying criminal conduct or all facts

23   known to either party that relate to that conduct.

24                                 SENTENCING FACTORS

25           11.   Defendant understands that in determining defendant’s

26   sentence the Court is required to calculate the applicable Sentencing

27   Guidelines range and to consider that range, possible departures

28   under the Sentencing Guidelines, and the other sentencing factors set

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 1   forth in 18 U.S.C. § 3553(a).       Defendant understands that the

 2   Sentencing Guidelines are advisory only, that defendant cannot have

 3   any expectation of receiving a sentence within the calculated

 4   Sentencing Guidelines range, and that after considering the

 5   Sentencing Guidelines and the other § 3553(a) factors, the Court will

 6   be free to exercise its discretion to impose any sentence it finds

 7   appropriate up to the maximum set by statute for the crime of

 8   conviction.

 9        12.    Defendant and the USAO agree to the following applicable

10   Sentencing Guidelines factors:

11      Base Offense Level:                     7        U.S.S.G. § 2B1.1(a)(1)

12      Specific Offense
        Characteristics:
13
        Intended Loss > $250,000 but
14      < $550,000                             +12   U.S.S.G. § 2B1.1(b)(1)(G)

15   Defendant and the USAO reserve the right to argue that additional

16   specific offense characteristics, adjustments, and departures under

17   the Sentencing Guidelines are appropriate.         In particular, the USAO

18   reserves the right to argue that a 2-level increase for sophisticated

19   means should apply under U.S.S.G. § 2B1.1(b)(10)(C), and that a 2 to

20   4-level increase for aggravating role should apply under U.S.S.G.

21   § 3B1.1, while defendant reserves the right to argue that no

22   increases should be applied under these Sentencing Guidelines

23   sections.

24        13.    Provided that defendant demonstrates an acceptance of

25   responsibility for the offense to which defendant is pleading guilty

26   up to and including the time of sentencing, then, taking into account

27   all of the factors listed in 18 U.S.C. § 3553(a)(1)-(7), and based on

28   a number of unique circumstances in this case, including but not

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 1   limited to defendant’s early acceptance of responsibility as

 2   demonstrated by defendant making timely admissions regarding

 3   defendant’s role in the crimes alleged in the indictment, both in an

 4   August 14, 2013 interview and signed affidavit and in a proffer to

 5   the USAO on March 3, 2016; the additional information provided by

 6   defendant during the March 3 proffer; the resources saved by the

 7   government and the Court due to this early disposition; and the

 8   unique nature of the offense and defendant’s role in the offense, the

 9   USAO will further recommend that defendant’s sentence be reduced from

10   the advisory sentencing guideline range by the equivalent of 3 levels

11   as a downward variance in accordance with United States v. Booker,

12   543 U.S. 220 (2005).

13        14.   Defendant understands that there is no agreement as to

14   defendant’s criminal history or criminal history category.

15        15.   Defendant and the USAO reserve the right to argue for a

16   sentence outside the sentencing range established by the Sentencing

17   Guidelines based on the factors set forth in 18 U.S.C. § 3553(a)(1),

18   (a)(2), (a)(3), (a)(6), and (a)(7).

19                         WAIVER OF CONSTITUTIONAL RIGHTS

20        16.   Defendant understands that by pleading guilty, defendant

21   gives up the following rights:

22              a.    The right to persist in a plea of not guilty.

23              b.    The right to a speedy and public trial by jury.

24              c.    The right to be represented by counsel –- and if

25   necessary have the court appoint counsel -- at trial.           Defendant

26   understands, however, that, defendant retains the right to be

27   represented by counsel –- and if necessary have the court appoint

28   counsel –- at every other stage of the proceeding.

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 1              d.    The right to be presumed innocent and to have the

 2   burden of proof placed on the government to prove defendant guilty

 3   beyond a reasonable doubt.

 4              e.    The right to confront and cross-examine witnesses

 5   against defendant.

 6              f.    The right to testify and to present evidence in

 7   opposition to the charges, including the right to compel the

 8   attendance of witnesses to testify.

 9              g.    The right not to be compelled to testify, and, if

10   defendant chose not to testify or present evidence, to have that

11   choice not be used against defendant.

12              h.    Any and all rights to pursue any affirmative defenses,

13   Fourth Amendment or Fifth Amendment claims, and other pretrial

14   motions that have been filed or could be filed.

15                         WAIVER OF APPEAL OF CONVICTION

16        17.   Defendant understands that, with the exception of an appeal

17   based on a claim that defendant’s guilty plea was involuntary, by

18   pleading guilty defendant is waiving and giving up any right to

19   appeal defendant’s conviction on the offense to which defendant is

20   pleading guilty.

21                   LIMITED MUTUAL WAIVER OF APPEAL OF SENTENCE

22        18.   Defendant agrees that, provided the Court imposes a total

23   term of imprisonment on all counts of conviction of no more than 18

24   months, defendant gives up the right to appeal all of the following:

25   (a) the procedures and calculations used to determine and impose any

26   portion of the sentence; (b) the term of imprisonment imposed by the

27   Court; (c) the fine imposed by the court, provided it is within the

28   statutory maximum; (d) the amount and terms of any restitution order,

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 1   provided it requires payment of no more than $201,000; (e) the term

 2   of probation or supervised release imposed by the Court, provided it

 3   is within the statutory maximum; and (f) any of the following

 4   conditions of probation or supervised release imposed by the Court:

 5   the conditions set forth in General Orders 318, 01-05, and/or 05-02

 6   of this Court; the drug testing conditions mandated by 18 U.S.C.

 7   §§ 3563(a)(5) and 3583(d); and the alcohol and drug use conditions

 8   authorized by 18 U.S.C. § 3563(b)(7).

 9         19.   The USAO agrees that, provided (a) all portions of the

10   sentence are at or below the statutory maximum specified above and

11   (b) the Court imposes a term of imprisonment of no less than 12

12   months, the USAO gives up its right to appeal any portion of the

13   sentence, with the exception that the USAO reserves the right to

14   appeal the amount of restitution ordered if that amount is less than

15   $201,000.

16                       RESULT OF WITHDRAWAL OF GUILTY PLEA

17         20.   Defendant agrees that if, after entering a guilty plea

18   pursuant to this agreement, defendant seeks to withdraw and succeeds

19   in withdrawing defendant’s guilty plea on any basis other than a

20   claim and finding that entry into this plea agreement was

21   involuntary, then (a) the USAO will be relieved of all of its

22   obligations under this agreement; and (b) should the USAO choose to

23   pursue any charge that was dismissed as a result of this agreement,

24   then (i) any applicable statute of limitations will be tolled between

25   the date of defendant’s signing of this agreement and the filing

26   commencing any such action; and (ii) defendant waives and gives up

27   all defenses based on the statute of limitations, any claim of pre-

28   indictment delay, or any speedy trial claim with respect to any such

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 1   action, except to the extent that such defenses existed as of the

 2   date of defendant’s signing this agreement.

 3                            EFFECTIVE DATE OF AGREEMENT

 4         21.   This agreement is effective upon signature and execution of

 5   all required certifications by defendant, defendant’s counsel, and an

 6   Assistant United States Attorney.

 7                                BREACH OF AGREEMENT

 8         22.   Defendant agrees that if defendant, at any time after the

 9   effective date of this agreement and execution of all required

10   certifications by defendant, defendant’s counsel, and an Assistant

11   United States Attorney, knowingly violates or fails to perform any of

12   defendant’s obligations under this agreement (“a breach”), the USAO

13   may declare this agreement breached.        All of defendant’s obligations

14   are material, a single breach of this agreement is sufficient for the

15   USAO to declare a breach, and defendant shall not be deemed to have

16   cured a breach without the express agreement of the USAO in writing.

17   If the USAO declares this agreement breached, and the Court finds

18   such a breach to have occurred, then: (a) if defendant has previously

19   entered a guilty plea pursuant to this agreement, defendant will not

20   be able to withdraw the guilty plea, and (b) the USAO will be

21   relieved of all its obligations under both this agreement and the

22   proffer letter dated March 3, 2016 executed by defendant, defendant’s

23   counsel, and the USAO (the “Letter Agreement”).

24         23.   Following the Court’s finding of a knowing breach of this

25   agreement by defendant, should the USAO choose to pursue any charge

26   that was dismissed as a result of this agreement, then:

27

28

                                           11
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 1               a.   Defendant agrees that any applicable statute of

 2   limitations is tolled between the date of defendant’s signing of this

 3   agreement and the filing commencing any such action.

 4               b.   Defendant waives and gives up all defenses based on

 5   the statute of limitations, any claim of pre-indictment delay, or any

 6   speedy trial claim with respect to any such action, except to the

 7   extent that such defenses existed as of the date of defendant’s

 8   signing this agreement.

 9               c.   Defendant agrees that: (i) any statements made by

10   defendant, under oath, at the guilty plea hearing (if such a hearing

11   occurred prior to the breach); (ii) the agreed to factual basis

12   statement contained in Exhibit A to this agreement; (iii) any

13   statements made by defendant pursuant to the Letter Agreement; and

14   (iii) any evidence derived from such statements, shall be admissible

15   against defendant in any such action against defendant, and defendant

16   waives and gives up any claim under the United States Constitution,

17   any statute, Rule 410 of the Federal Rules of Evidence, Rule 11(f) of

18   the Federal Rules of Criminal Procedure, or any other federal rule,

19   that the statements or any evidence derived from the statements

20   should be suppressed or are inadmissible.

21                     COURT AND PROBATION OFFICE NOT PARTIES

22         24.   Defendant understands that the Court and the United States

23   Probation Office are not parties to this agreement and need not

24   accept any of the USAO’s sentencing recommendations or the parties’

25   agreements to facts or sentencing factors.

26         25.   Defendant understands that both defendant and the USAO are

27   free to: (a) supplement the facts by supplying relevant information

28   to the United States Probation Office and the Court; (b) correct any

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 1   and all factual misstatements relating to the Court’s Sentencing

 2   Guidelines calculations and determination of sentence; and (c) argue

 3   on appeal and collateral review that the Court’s Sentencing

 4   Guidelines calculations and the sentence it chooses to impose are not

 5   error, although each party agrees to maintain its view that the

 6   calculations in paragraph 12 are consistent with the facts of this

 7   case.    While this paragraph permits both the USAO and defendant to

 8   submit full and complete factual information to the United States

 9   Probation Office and the Court, even if that factual information may

10   be viewed as inconsistent with the facts agreed to in this agreement,

11   this paragraph does not affect defendant’s and the USAO’s obligations

12   not to contest the facts agreed to in this agreement.

13           26.   Defendant understands that even if the Court ignores any

14   sentencing recommendation, finds facts or reaches conclusions

15   different from those agreed to, and/or imposes any sentence up to the

16   maximum established by statute, defendant cannot, for that reason,

17   withdraw defendant’s guilty plea, and defendant will remain bound to

18   fulfill all defendant’s obligations under this agreement.            Defendant

19   understands that no one –- not the prosecutor, defendant’s attorney,

20   or the Court –- can make a binding prediction or promise regarding

21   the sentence defendant will receive, except that it will be within

22   the statutory maximum.

23                              NO ADDITIONAL AGREEMENTS

24           27.   Defendant understands that, except as set forth herein and

25   in the Letter Agreement, there are no promises, understandings, or

26   agreements between the USAO and defendant or defendant’s attorney,

27   and that no additional promise, understanding, or agreement may be

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                                           13
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 1   e n t e r e d i n t o u n l e s s i n a w r i t i n g s i g n e d by a l l p a r t i e s o r on t h e

 2   record i n court.

 3                              PLEA AGREEMENT PART OF THE G U I L T Y PLEA HEARING

 4              28.      The p a r t i e s a g r e e t h a t t h i s a g r e e m e n t w i l l be c o n s i d e r e d

 5   part of the record of defendant's g u i l t y plea hearing as i f the

 6   e n t i r e agreement had been r e a d i n t o t h e r e c o r d o f t h e p r o c e e d i n g .

 7   AGREED AND ACCEPTED

 8   UNITED STATES ATTORNEY'S O F F I C E
     FOR THE CENTRAL D I S T R I C T OF
 9   CALIFORNIA

10   E I L E E N M. DECKER
     United States Attorney
11

12
     GEORGE S. CARDONA                                                                           Date
13   A s s i s t a n t Uniytfeld S t a t e s A t t o r n e y
14
                                                                                                 Date
15

16
     E I ^ O L STAMBLER
17   Attorney f o r Defendant
     SERGIO AMADOR
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 1                                                    C E R T I F I C A T I O N OF DEFENDANT

 2
                I h a v e r e a d t h i s a g r e e m e n t i n i t se n t i r e t y .     I h a v e had enough
 3
     t i m e t o r e v i e w a n d c o n s i d e r t h i s a g r e e m e n t , a n d I h a v e c a r e f u l l y and
 4
     t h o r o u g h l y d i s c u s s e d e v e r y p a r t o f i t w i t h my a t t o r n e y .    Iu n d e r s t a n d
 5
     t h e t e r m s o f t h i s a g r e e m e n t , and I v o l u n t a r i l y a g r e e t o t h o s e     terms.
 6
     I h a v e d i s c u s s e d t h e e v i d e n c e w i t h my a t t o r n e y , a n d my a t t o r n e y h a s
 7
     a d v i s e d me o f my r i g h t s , o f p o s s i b l e p r e t r i a l m o t i o n s t h a t m i g h t be
 8
     f i l e d , o f p o s s i b l e d e f e n s e s t h a t m i g h t be a s s e r t e d e i t h e r p r i o r t oo r
 9
     a t t r i a l , o f t h e s e n t e n c i n g f a c t o r s s e t f o r t h i n 18 U.S.C. § 3 5 5 3 ( a ) ,
10
     of r e l e v a n t S e n t e n c i n g G u i d e l i n e s p r o v i s i o n s , and o f t h e consequences
11
     of e n t e r i n g i n t o t h i s agreement.            No p r o m i s e s ,     inducements, or
12
     r e p r e s e n t a t i o n s o f a n y k i n d h a v e been made t o me o t h e r t h a n             those
13
     c o n t a i n e d i n t h i s a g r e e m e n t and t h e L e t t e r A g r e e m e n t r e f e r e n c e d i n
14
     t h i s agreement.           No one h a s t h r e a t e n e d o r f o r c e d me i na n y way t o
15
     e n t e r i n t o t h i s agreement.            I am s a t i s f i e d w i t h t h e r e p r e s e n t a t i o n o f
16
     my a t t o r n e y i n t h i s m a t t e r , and I am p l e a d i n g g u i l t y b e c a u s e I am
17
     g u i l t y o f t h e c h a r g e a n d w i s h t o t a k e a d v a n t a g e o f t h e p r o m i s e ss e t
18
     f o r t h i n t h i s a g r e e m e n t , a n d n o t f o ra n y o t h e r      reason.
19

20

21                                                                                                         3 ZL •           /g>
                                                                                                Date
22

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 1                                       C E R T I F I C A T I O N OF DEFENDANT'S ATTORNEY

 2              I am SERGIO AMADOR's a t t o r n e y .                       I h a v e c a r e f u l l y and t h o r o u g h l y
 3   d i s c u s s e d e v e r y p a r t o f t h i s agreement w i t h my c l i e n t .              Further, I
 4   h a v e f u l l y a d v i s e d my c l i e n t o f h i s r i g h t s , o f p o s s i b l e p r e t r i a l
 5   m o t i o n s t h a t m i g h t be f i l e d , o f p o s s i b l e d e f e n s e s t h a t m i g h t be
 6   a s s e r t e d e i t h e r p r i o r to or a t t r i a l , of the sentencing              f a c t o r ss e t
 7   f o r t h i n 18 U.S.C. § 3 5 5 3 ( a ) , o f r e l e v a n t S e n t e n c i n g        Guidelines
 8   p r o v i s i o n s , and o f t h e consequences o f e n t e r i n g i n t o t h i s agreement.
 9   To my k n o w l e d g e : no p r o m i s e s , i n d u c e m e n t s , o r r e p r e s e n t a t i o n s o f a n y
10   k i n d h a v e b e e n made t o my c l i e n t o t h e r t h a n t h o s e c o n t a i n e d i n t h i s
11   a g r e e m e n t a n d t h e L e t t e r Agreement r e f e r e n c e d i n t h i s a g r e e m e n t ; no
12   one h a s t h r e a t e n e d o r f o r c e d my c l i e n t i n a n y way t o e n t e r i n t o t h i s
13   a g r e e m e n t ; my c l i e n t ' s d e c i s i o n t o e n t e r i n t o t h i s a g r e e m e n t i san
14   i n f o r m e d a n d v o l u n t a r y o n e ; and t h e f a c t u a l b a s i s s e t f o r t h i n t h i s
15   a g r e e m e n t i s s u f f i c i e n t t o s u p p o r t my c l i e n t ' s e n t r y o f a g u i l t y
16   p l e a s p u r s u a n t t o t h i s agreement.
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19   ERROL STAM^LER
     A t t o r n e y f o rD e f e n d a n t
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     SERGIO AMADOR
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 1                              Exhibit A: Factual Basis

 2         1.   The International Longshore and Warehouse Union, formerly

 3   known as the International Longshoremen’s and Warehousemen’s Union

 4   (“ILWU”), together with various ILWU locals in different port

 5   locations, represents dock workers at ports on the West Coast of the

 6   United States, including at the ports of Los Angeles and Long Beach.

 7         2.   The Pacific Maritime Association (“PMA”) represents member

 8   organizations involved in the shipping industry and arranges on their

 9   behalf for the hiring of dock workers at ports on the West Coast of

10   the United States, including at the ports of Los Angeles and Long

11   Beach.

12         3.   The International Longshoremen’s and Warehousemen’s             Union

13   – Pacific Maritime Association Welfare Plan (the “ILWU-PMA Welfare

14   Plan”) is a benefit plan, established by agreement between the ILWU

15   and PMA and affecting commerce, that provides a variety of benefits,

16   including health care benefits, to eligible active and retired ILWU

17   members and their qualified dependents and survivors.           Eligible

18   recipients of health care benefits under the ILWU-PMA Welfare Plan

19   have an annual choice to have those benefits provided through either

20   a Health Maintenance Organization (“HMO”) or a self-funded program

21   that, effective July 1, 2000, was the ILWU-PMA Welfare Plan Self

22   Funded Programs Coastwise Indemnity Plan (the “Plan”).            The Plan is

23   funded almost entirely by the PMA.

24         4.   The Plan reimburses providers of medical services,

25   including physicians, chiropractors, and medical clinics

26   (collectively “providers”), that treat patients covered by the Plan

27   (“Plan members”).     Each Plan member is issued a subscriber

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 1   identification card that identifies the Plan member by a unique

 2   identification number (“Plan member ID Number”).

 3         5.   The Plan requires providers to submit claim forms in order

 4   to receive reimbursement for medical services provided to

 5   subscribers.    Among other information, providers are required to

 6   include in the claim forms: (i) the Plan member’s name and ID Number;

 7   (ii) the type of service provided (identified by a standardized

 8   procedure code number known as a “CPT Code”); (iii) the date the

 9   service was provided; (iv) the charge for the service; (v) the

10   diagnosis (identified by a standardized diagnostic code number, the

11   “ICD-9 Diagnosis Code”); and (vi) the provider’s name and/or

12   identification number.

13         6.   Effective July 1, 2000, the Plan was administered by the

14   ILWU-PMA Benefit Plans office, with claims processed and paid through

15   the ILWU-PMA Coastwise Claims Office (“Coastwise Claims”).

16   Subsequently, the Plan shifted to using a third party administrator

17   (“TPA”), which, from 2008 until 2013, was CIGNA, but claims for

18   medical services provided to Plan members continued to be processed

19   and paid through Coastwise Claims.

20         7.   The Plan provides coverage for chiropractic services and

21   has a PPO for chiropractic services, which, effective as of July 1,

22   2009, was the Chiropractic Health Plan of California (“CHPC”).             For

23   chiropractic services provided by a CHPC provider, the Plan covered

24   100% of CHPC charges, with no out-of-pocket cost to the Plan member

25   receiving the chiropractic services.        The chiropractic services

26   covered by the Plan included office visits, up to a maximum of 40

27   related to any particular “diagnosis,” and up to a maximum of 18

28   related to “symptoms” in the absence of a “diagnosis.”

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 1         8.    I, David Gomez, and C.R., are members of ILWU Local 13,

 2   which is based in Los Angeles County.

 3         9.    On or about April 17, 2009, and April 9, 2010,

 4   respectively, using the services of R.M., I, David Gomez, and C.R.

 5   created corporations called “Port Medical Associates, Inc.” and “Port

 6   Medical San Pedro Inc.”      In or about early 2009 and early 2010,

 7   respectively, I, David Gomez, and C.R. opened two clinics, operating

 8   under the names “Port Medical” at 2530 Atlantic Boulevard, Suite A,

 9   Long Beach, California, and 407 North Harbor Boulevard, San Pedro,

10   California.

11         10.   Both Port Medical clinics offered general medical and

12   chiropractic care through medical providers I, David Gomez, and C.R.

13   hired, including, in particular, K.M., who was a licensed

14   chiropractor and member of the CHPC, who we hired to provide

15   chiropractic services at the Port Medical clinic in Long Beach.

16         11.   In or about December 2008. March 2010, and September 2010,

17   respectively, using the services of R.M., I, David Gomez, and C.R.

18   created three medical management companies: DCS Medical Management

19   LLC (“DCS”), Chosen Medical Management LLC (“Chosen”), and Ramport

20   Medical Management LLC (“Ramport”).        The “DCS” in DCS Medical

21   Management stood for David, Chris, and Sergio.          On or about the

22   following dates, using the services of R.M., I, David Gomez, and C.R.

23   opened at J.P. Morgan Chase Bank the following accounts (each

24   identified by the last four digits of the account number) for these

25   medical management companies:

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 1
     Date                        Company             Account
 2   March 6, 2009               DCS                 ***3393
                                                     (“DCS 3393 Account”)
 3   March 29, 2010              Chosen              ***6061
 4                                                   (“Chosen 6061 Account”)
     August 16, 2010             Ramport             ***9842
 5                                                   (“Ramport 9842 Account”)
     January 12, 2011            Ramport             ***6169
 6                                                   (“Ramport 6169 Account”)
 7

 8           12.   After opening the Port Medical clinic in Long Beach, I and

 9   David Gomez recruited Plan members to receive medical and

10   chiropractic services at Port Medical, including by offering those

11   Plan members incentives, including sponsorships of sports teams, cash

12   payments, free massages and facials, and other gifts and services, in

13   return for those Plan members receiving medical and chiropractic

14   services at Port Medical and encouraging other Plan members to also

15   receive medical and chiropractic services at Port Medical. Payments

16   to Plan Members were usually made using the medical management

17   accounts referenced above.

18           13.   For example, often times, I or David Gomez would be

19   approached by, or would approach, Plan members to sponsor a sports

20   team.    For a $1,000 sponsorship, I expected about 6 people to owe us

21   3-4 visits at Port Medical Long Beach.         The Plan members often would

22   not come to all of the visits they owed us, but the clinic would bill

23   the Plan for those visits anyway, resulting in billing the Plan for

24   services that had not actually been rendered.          In addition, the bills

25   submitted by Port Medical Long Beach did not disclose that I and

26   David Gomez had paid or provided incentives for Plan members to

27   receive services at the clinic.

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 1         14.   I was aware that patient files had to be created to make it

 2   look like Plan members were receiving treatment when they were not

 3   actually coming in for treatment.          To accomplish this, when Plan

 4   members who were being paid came in for treatment, the clinic staff

 5   would sometimes have them sign patient sign-in sheets for dates they

 6   did not actually come in.       On other occasions, both I and David Gomez

 7   went to Plan members to obtain signatures on sign-in sheets.             These

 8   extra signatures were used to create false chart entries that were

 9   used to support bills to the Plan for services that had not actually

10   been rendered.

11         15.   There were also many occasions when I knew that Port

12   Medical Long Beach was billing the Plan for more services than were

13   actually received by Plan members on a given visit.           For example, on

14   many occasions a Plan member would come in for a 15 minute massage

15   and receive only that 15 minute massage without seeing the

16   chiropractor, but the clinic would send the Plan a bill for multiple

17   (15) increments of services that treated those services as if

18   justified by seeing the chiropractor.         These bills also did not

19   disclose that I and David Gomez had paid or provided incentives for

20   Plan members to receive services at the clinic.

21         16.   One of the Plan members I paid to get him and his family

22   members to receive services at Port Medical Long Beach was J.V., who

23   had several children who were also Plan members.           On February 20,

24   2010, I wrote J.V. a check on the DCS account for $2,400 that

25   indicated “plumbing” in the memo line.         I knew that J.V. was not a

26   plumber, that this check was not for plumbing services, and that I

27   wrote “plumbing” to conceal the fact that the check was actually a

28   payment to J.V. for J.V. and his family members receiving services at

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 1   Port Medical Long Beach.      In return for this payment, I expected J.V.

 2   and his family members to make a certain number of visits to the

 3   clinic, and I knew that if they did not make those visits, we would

 4   bill the Plan for those visits in any event, resulting in bills to

 5   the Plan for services not actually rendered.

 6         17.   On or about January 13, 2011, Port Medical Long Beach

 7   submitted to the Plan bills for chiropractic services purportedly

 8   rendered to J.V on or about November 2, 2010, November 9, 2010, and

 9   November 16, 2010.     In fact, J.V. had not received chiropractic

10   services from Port Medical Long Beach on any of those days, and the

11   bills were supported by fabricated chart entries prepared by clinic

12   staff using signatures provided by J.V. to make it look as if J.V.

13   had received services on those days.        As the result of this bill for

14   services that had not actually been rendered, on or about February 1,

15   2011, the Plan mailed check number 7281549 in the amount of $736.11

16   to Port Medical Long Beach.

17         18.   As a result of the fraudulent scheme described above in

18   which I and David Gomez participated, Port Medical billed the Plan at

19   least $251,000 for medical and chiropractic services not actually

20   rendered, and the Plan paid Port Medical at least $201,000 based on

21   those bills.

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